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I, James Roguski, declare:



   1. I am a resident of Los Angeles County I work with the Voting Rights Defense Project which is

       an unincorporated association in the State of California. It is comprised of citizens working to

       educate voters of their rights with the goal of maximizing voter turnout. I am a supporter of

       Bernie Sanders, but I have no formal relationship with the Sanders campaign. I received

       EXHIBIT 1 from Marissa Winfrey on May 5, 2016. She had received it in the mail from the Los

       Angeles Registrar's office. I have this form in my possession. Ms. Winfrey was a registered

       NPP voter. After receiving the postcard from the Los Angeles Registrar, she was confused by

       the stated March 18, 2016 deadline and was concerned that she had missed the deadline to

       receive the proper ballot to vote in the Presidential Primary election. The information on the

       postcard that she received was misleading. Ms. Winfrey was concerned over missing the

       deadline to request a crossover ballot, so she re-registered online as a member of the

       Democratic Party. To be absolutely certain that her vote be properly cast, Ms. Winfrey voted in

       person at the Norwalk office of the Los Angeles County Registrar on May 9, 2016.



   2. I am the administrator for a “group” on facebook:

       https://www.facebook.com/groups/voteearlyforbernie I received EXHIBIT 2 from a facebook

       post made on May 12, 2016 by https://www.facebook.com/renee.bulf.7 Renee received this

       document when she went to vote early at the Nevada County Registrar's office. This document

       omits key language from Elections Code 3006(c) regarding the right of the voters to know the

       parties that offer a Presidential ballot to NPP voters. Renee Bulf's facebook post may be found

       at: https://www.facebook.com/photo.php?

       fbid=10207835022306467&set=p.10207835022306467&type=3&theater
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3. On or around May 18, 2016, I did a google search for “voter suppression California” and found

   two Sonoma County documents that don’t have the Elections Code 3006(b)(3) and (c)

   mandated vote-by-mail information regarding right to request a ballot by May 31, 2016. They

   also leave the impression that a ballot will not be received if not requested by April 15, 2016.

   (EXHIBIT 3A & EXHIBIT 3B) from the following website:

   http://www.pressdemocrat.com/home/5532867-181/error-in-ballot-notices-affects?artslide=0

   The issue was also discussed here: http://sonomacountygazette.com/cms/pages/sonoma-county-

   news-article-5263.html

   And here:

   https://m.reddit.com/r/SandersForPresident/comments/4fpjig/sorry_too_late_voter_suppression

   _begins_in/d2b7er



4. On May 19, 2016, I did a google search for “voter suppression California” and obtained a

   Ventura County document incorrectly states that the deadline to request a vote by mail is March

   25, 2016 rather than by May 31, 2016 (EXHIBIT 4) from the following website:

   http://voteforbernie.org/state/california/



5. On May 20, 2016 I visited the Ventura County Registrar's website, which fails to state that the

   deadline for requesting a crossover ballot is May 31, 2016. I obtained EXHIBIT 5 by taking a

   “screenshot” of their webpage: http://recorder.countyofventura.org/elections/



6. I obtained EXHIBIT 6 via a search of the internet, re the Riverside County application that

   incorrectly states that the deadline to request a vote by mail is April 22, 2016 rather than by

   May 31, 2016. I regret to say that I am now unable to determine the specific website from

   which it was obtained.
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7. I obtained EXHIBIT 7 via a search of the internet, a San Bernardino County that incorrectly

   states that the deadline to request a vote by mail is April 1, 2016 rather than by May 31, 2016. I

   regret to say that I am now unable to determine the specific website from which it was obtained.



8. On May 22, 2016 I obtained EXHIBIT 8 by taking a “screenshot” of the San Francisco County

   Registrar's website, which displays an application to vote by mail that does not contain the NPP

   information mandated by Elections Code 3006(c) on the face of it:

   http://sfelections.org/tools/vbmapp/index.php



9. On May 22, 2016 I obtained EXHIBIT 9 by taking a “screenshot” of the Alameda County

   Registrar's website, which displays an application to vote by mail that also does not contain the

   NPP information mandated by Elections Code 3006(c) on the face of it:

   https://www.acgov.org/rov/forms/vbme.htm



10. I obtained the EXHIBIT 10 via a search of the internet. I regret to say that I am now unable to

   determine the specific website from which it was obtained. No county name is listed on the

   document which incorrectly states that the deadline to request a vote by mail is April 15, 2016

   rather than by May 31, 2016



11. On May 24, 2016 I received four San Francisco County Registrar documents EXHIBIT 11A,

   11B, 11C and 11D from William Simpich. 11A gives the reader the indication that they will not

   receive a Presidential ballot if the postcard is not returned by April 18, 2016. The postcard

   application marked as 11B states that the date to return a request for a vote by mail ballot

   request is June 1 rather than May 31, 2016. The last two documents are the sample ballot
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   showing that the NPP information was provided to a registered NPP voter, but that the NPP

   information was not provided to a registered party voter.



12. On May 25, 2016 I received an Orange County Registrar document (EXHIBIT 12) from Ernest

   Martinez. This gives the reader the indication that the deadline to request a ballot to vote for

   President is not May 31, 2016 but March 31, 2016.



13. On May 25, 2016 I obtained EXHIBIT 13 by downloading the form from the Secretary of

   State's website, which contains all the essential information on an application to vote by mail

   form pursuant to Elections Code 3006, which many counties did not follow:

   http://elections.cdn.sos.ca.gov/vote-by-mail/pdf/vote-by-mail-application.pdf



14. On May 26, 2016 I obtained EXHIBITS 14A and 14B by taking a “screenshot” of a webpage on

   the Secretary of State's website, that provides no guidance on the poll worker’s role in providing

   information to NPP voters about their right to receive a Presidential ballot. The Secretary gives

   the impression that the poll worker is supposed to wait for a request from the NPP voter, rather

   than ask the NPP voter if she or he wants a Presidential primary ballot.

   http://www.sos.ca.gov/elections/political-parties/no-party-preference/#top-two-candidates
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